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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                            Cr. No. 01-30044-02/USM No. 11250-035

 VERSUS                                              JUDGE ROBERT G. JAMES

 LARRY D. ANDINGS, JR.                               MAG. JUDGE KAREN L. HAYES


                                   AMENDED JUDGMENT

        Pursuant to 18 U.S.C. § 3582(c)(2), which provides for a reduction in the term of

 imprisonment imposed based on a guideline sentencing range that has subsequently been lowered

 and made retroactive by the United States Sentencing Commission under 28 U.S.C. § 994(u),

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Judgment of the

 Court, imposed on December 16, 2002, sentencing Defendant Larry D. Andings, Jr. to a term of

 imprisonment of 135 months, to run concurrently with the State sentence imposed on August 10,

 1997, is AMENDED, and Defendant’s sentence is reduced to 108 months, to run concurrently

 with the State sentence imposed on August 10, 1997. If this sentence is less than the amount of

 time that Defendant has already served, this shall be treated as a “Time Served” Judgment.

        IT IS FURTHER ORDERED that, if Defendant is currently incarcerated in a Bureau of

 Prisons (“BOP”) facility, this Amended Judgment is STAYED for a period of ten (10) calendar

 days in order to allow BOP to complete its administrative functions. However, this stay shall

 NOT apply to any Defendant who is in pre-release custody in a Residential Reentry Center.

 I.     COURT DETERMINATION OF GUIDELINE RANGE (Prior to any departures)

 Previous Offense Level:          31                 Amended Offense Level:         29
 Criminal History Category:       III                Criminal History Category:     III
 Previous Guideline Range: 135-168 months            Amended Guideline Range: 108-135 months
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 II.    SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

          X     The reduced sentence is within the amended guideline range.

                The previous term of imprisonment imposed was less than the guideline
                range applicable to the defendant at the time of sentencing as a result of a
                departure or a Rule 35 reduction, and the reduced sentence is comparably
                less than the amended guideline range.

                Other (explain):

 III.   ADDITIONAL COMMENTS:

        Except as otherwise provided, all provisions of the Judgment dated December 18, 2002,

 remain in effect.

        MONROE, LOUISIANA, this 15th day of April, 2008.
